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                                                                                                   ORIGINAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        -   -   -   -   -   -   -   X

 UNITED STATES OF AMERICA

                  - v.         -                                                        SEALED INDICTMENT.

 KARL SEBASTIAN GREENWOOD,                                                              SS 17 Cr. 630

                                               Defendant.

 -   -   -    -   -    -   -       -   -   -    -   -   -   -   -   -   -   -   -   X

                                                   COUNT ONE
                                       (Conspiracy to Commit Wire Fraud)

         The Grand Jury charges:

         1.           From in or about 2014 through in or about January

2018, in the Southern District of New York and elsewhere, KARL

SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to violate

Title 18, United States Code, Section 1343.

         2.           It was a part and an object of the conspiracy that

KARL SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, willfully and knowingly, having devised and intending

to devise a scheme and artifice to defraud and for obtaining

money and property by means of false and fraudulent pretenses,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,
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signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, GREENWOOD, and

others working on his behalf, made and caused to be made false

statements and misrepresentations soliciting individuals

throughout the world, including in the Southern District of New

York, to invest in "OneCoin," a purported cryptocurrency, and

instructed individuals to transmit investment funds to OneCoin

depository accounts in order to purchase OneCoin packages,

thereby causing individuals to send interstate and international

wires representing their OneCoin investments, and resulting in

the receipt of over $1 billion of investor funds into OneCoin-

related bank accounts.

           (Title 18, United States Code, Section 1349.)

                               COUNT TWO
                              (Wire Fraud)

     The Grand Jury further charges:

     3.   From in or about 2014 through in or about January

2018, in the Southern District of New York and elsewhere, KARL

SEBASTIAN GREENWOOD, the defendant, willfully and knowingly,

having devised and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false

and fraudulent pretenses, representations and promises, for the

purpose of executing such scheme and artifice, transmitted and

caused to be transmitted by means of wire communication in

interstate and foreign commerce writings, signs, signals,


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pictures, and sounds, to wit, GREENWOOD, and others working on

his behalf, made and caused to be made false statements and

misrepresentations soliciting individuals throughout the world,

including in the Southern District of New York, to invest in

"QneCoin," a purported cryptocurrency, and instructed

individuals to transmit investment funds to OneCoin depository

accounts in order to purchase OneCoin packages, and thereby

caused individuals to send interstate and international wires

representing their OneCoin investments, and resulting in the

receipt of over $1 billion of investor funds into OneCoin-

related bank accounts.

            (Title 18, United States Code, Sections 1343 and 2.)

                                 COUNT THREE
                   (Conspiracy to Commit Money Laundering)

       The Grand Jury further charges:

       4.      From in or about 2014 through in or about January

2018, in the Southern District of New York and elsewhere KARL

SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, knowingly did combine, conspire, confederate, and agree

together and with each other to commit money laundering, in

violation of Title 18, United States Code, Sections

19 5 6 (a) ( 1) (B) ( i) , 19 5 6 (a) ( 2 ) (B) ( i) , and 19 5 6 (a) ( 2 ) (A)

       5.      It was a part and an object of the conspiracy that

KARL SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, knowing that the property involved in certain financial


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transactions represented the proceeds of some form of unlawful

activity, would and did conduct and attempt to conduct such

financial transactions which in fact involved the proceeds of

specified unlawful activity, to wit, the proceeds of the wire-

fraud scheme alleged in Counts One and Two of this Indictment,

knowing that the transactions were designed in whole and in part

to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of specified unlawful activity, in

violation of Title 18, United States Code, Section

1956 (a) (1) (B) (i).

      6.    It was further a part and an object of the conspiracy

that KARL SEBASTIAN GREENWOOD, the defendant, and others known

and unknown, would and did transport, transmit, and transfer,

and attempt to transport, transmit, and transfer a monetary

instrument and funds from a place in the United States to and

through a place outside the United States, and to a place in the

United States from and through a place outside the United

States, knowing that the monetary instrument and funds involved

in the transportation, transmission, and transfer represented

the proceeds of some form of unlawful activity and knowing that

such transportation, transmission, and transfer was designed in

whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of specified

unlawful activity, to wit, the proceeds of the wire-fraud scheme



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alleged in Counts One and Two of this Indictment, in violation

of Title 18, United States Code, Section 1956(a) (2) (B) (i)

     7.    It was further a part and an object of the conspiracy

that KARL SEBASTIAN GREENWOOD, the defendant, and others known

and unknown, would and did transport, transmit, and transfer,

and attempt to transport, transmit, and transfer, a monetary

instrument and funds from a place in the United States to and

through a place outside the United States, and to a place in the

United States from and through a place outside the United

States, with the intent to promote the carrying on of specified

unlawful activity, to wit, the wire-fraud scheme alleged in

Counts One and Two of this Indictment, in violation of Title 18,

United States Code, Section 1956(a) (2) (A).

          (Title 18, United States Code, Section 1956(h) .)

                             COUNT FOUR
              (Conspiracy to Commit Securities Fraud)

     The Grand Jury further charges:

     8.    From in or about 2014 through in or about January

2018, in the Southern District of New York and elsewhere, KARL

SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to commit

offenses against the United States, to wit, securities fraud,          in

violation of Title 15, United States Code, Sections 78j (b) &




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78ff, and Title 17, Code of Federal Regulations, Section

240.l0b-S.

             9.   It was a part and object of the conspiracy that

KARL SEBASTIAN GREENWOOD, the defendant, and others known and

unknown, willfully and knowingly, directly and indirectly,             py
the use of the means and instrumentalities of interstate

commerce, and of the mails, and of facilities of national

securities exchanges, would and did use and employ, in

connection with the purchase and sale of securities,

manipulative and deceptive devices and contrivances in violation

of Title 17, Code of Federal Regulations, Section 240.l0b-5 by:

(a) employing devices, schemes and artifices to defraud;          (b)

making untrue statements of material fact and omitting to state

material facts necessary in order to make the statements made,

in the light of the circumstances under which they were made,

not misleading; and (c) engaging in acts, practices and courses

of business which operated and would operate as a fraud and

deceit upon persons, all in violation of Title 15, United States

Code, Sections 78j (b) and 78ff, and Title 17, Code of Federal

Regulations, Section 240.l0b-S, to wit, GREENWOOD, and others

working on his behalf, made and caused to be made false

statements and misrepresentations soliciting individuals

throughout the world, including in the Southern District of New

York, to invest in "OneCoin," a purported cryptocurrency, and



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     thereby caused individuals in the United States and elsewhere to

     purchase OneCoin packages, and resulting in the receipt of over

     $1 billion of investor funds into OneCoin-related bank accounts.

                                      Overt Acts

            10.   In furtherance of the conspiracy and to effect the

     illegal objects thereof, KARL SEBASTIAN GREENWOOD, the

     defendant, and his co-conspirators committed the following overt

     acts, among others, in the Southern District of New York and

     elsewhere:

                  a.   On or about July 1, 2015, GREENWOOD sent an e-

     mail to a co-conspirator not named herein ("CC-1"), stating in

     part, "I thought this could go out tonight, problem is I don't

     have the access to send out to the members," and attaching a

     document which announced a July 4, 2015 online webinar hosted by

     CC-1 and others to mark the official opening of the United

     States market for OneCoin.

                  b.   On or about July 4, 2015, CC-1 participated in an

     online webinar, later posted to YouTube.com, in which CC-1

     announced the official opening of the United States market for

     OneCoin.

                  c.   On or about August 18, 2015, in order to purchase

     a OneCoin package, at the direction of a second co-conspirator

     not named herein ("CC-2"), a victim residing in the United

     States wired approximately $5,548 through a correspondent bank



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located in New York, New York, to benefit a bank account held in

the name of uoneCoin Ltd.," opened at the direction of CC-1 at

Mashreq Bank in Dubai, United Arab Emirates.

            (Title 18, United States Code, Section 371.)

                              COUNT FIVE
                           {Securities Fraud)

     11.   From in or about 2014 through in or about January

2018, in the Southern District of New York and elsewhere, KARL

SEBASTIAN GREENWOOD, the defendant, willfully and knowingly,

directly and indirectly, by the use of means and

instrumentalities of interstate commerce, the mails and the

facilities of national securities exchanges, in connection with

the purchase and sale of securities, did use and employ

manipulative and deceptive devices and contrivances, in

violation of Title 17, Code of Federal Regulations, Section

240.l0b-5, by (a) employing devices, schemes and artifices to

defraud;   (b) making untrue statements of material facts and

omitting to state material facts necessary in order to make the

statements made, in the light of the circumstances under which

they were made, not misleading; and (c) engaging in acts,

practices and courses of business which operated and would

operate as a fraud and deceit upon persons, to wit, GREENWOOD,

and others working on his behalf, made and caused to be made

false statements and misrepresentations soliciting individuals

throughout the world, including in the Southern District of New


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      York, to invest in "OneCoin," a purported cryptocurrency, and

      thereby caused individuals in the United States and elsewhere to

      purchase OneCoin packages, and resulting in the receipt of over

      $1 billion of investor funds into OneCoin-related bank accounts.

            (Title 15, United States Code, Sections 78j (b) & 78ff;
        Title 17, Code of Federal Regulations, Section 240.l0b-5; and
                  Title 18, United States Code, Section 2.)

                              FORFEITURE ALLEGATIONS

           12.    As a result of committing the offenses alleged in

      Counts One, Two, Four, and Five of this Indictment, KARL

      SEBASTIAN GREENWOOD, the defendant, shall forfeit to the United

      States pursuant to Title 18, United States Code, Section

      981(a) (1) (C), and Title 28, United States Code, Section 2461(c),

      any and all property, real and personal, that constitutes or is

      derived from proceeds traceable to the commission of said

      offenses, including but not limited to a sum of money in United

      States currency representing the amount of proceeds traceable to

      the commission of said offenses that the defendant personally

      obtained.

           13.    As a result of committing the offense alleged in Count

      Three of this Indictment, KARL SEBASTIAN GREENWOOD, the

      defendant, shall forfeit to the United States, pursuant to Title

      18, United States Code, Section 982(a) (1), any and all property,

      real and personal, involved in said offense, or any property

      traceable to such property, including but not limited to a sum



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of money in United States currency representing the amount of

property involved in said offense.

                      Substitute Asset Provision

     14.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.   cannot be located upon the exercise of due

diligence;

             b.   has been transferred or sold to, or deposited

with, a third party;

             c.   has been placed beyond the jurisdiction of the

court;

             d.   has been substantially diminished in value; or

             e.   has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

         (Title 18, United States Code, Sections 981 and 982;
           Title 21, United States Code, Sections 853; and
             Title 28, United States Code, Section 2461.)


~?~~
FOREPERSON
                                          11•fl4-~
                                        GEOFFREY~RMAN
                                        United States Attorney
                                        Southern District of New York



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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                            - v. -

                 KARL SEBASTIAN GREENWOOD,

                                     Defendant.




                     SEALED INDICTMENT

                        S5 17 Cr. 630

         (18 U.S.C. §§ 371, 1343, 1349, 1956 (h),
           and 2; 15 U.S.C. §§ 78j (b) and 78ff;
                and 17 C.F.R. § 240.l0b-5)



                                 GEOFFREY S. BERMAN
                            United States Attorney.



                         A TRUE BILL


                                        >
                                            Foreperson.
